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               Exhibit B
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           Case 1:20-cv-03962-LJL Document 75-2 Filed 09/08/20 Page 5 of 47

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                Exhibit 1
         Case 1:20-cv-03962-LJL Document 75-2 Filed 09/08/20 Page 7 of 47




         KAPLAN FOX & KILSHEIMER LLP



                               FIRM PROFILE


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                Tel.: 415.772.4700                       Tel.: 310.575.8604
                Fax: 415.772.4707                        Fax: 310.444.1913


               6109 32nd Place, NW                          160 Morris Street
               Washington, DC 20015                       Morristown, NJ 07960
                Tel.: 202.669.0658                         Tel.: 973.656.0222
                                                           Fax: 973.401.1114




NEW YORK, NY                           LOS ANGELES, CA                             OAKLAND, CA

CHICAGO, IL                            WASHINGTON, D.C.                          MORRISTOWN, NJ
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History of Kaplan Fox & Kilsheimer LLP

       Leo Kaplan and James Kilsheimer founded “Kaplan & Kilsheimer” in 1954, making

the firm one of the most established litigation practices in the country. James Kilsheimer

was a celebrated federal prosecutor in the late 1940s and early 1950s in New York who

not only successfully tried some of the highest profile cases in the country, but also

handled the U.S. Attorney’s Office’s criminal appeals to the Second Circuit.

       Now known as “Kaplan Fox & Kilsheimer LLP,” the early commitment to high-

stakes litigation continues to define the firm to the present day. In 2009, Portfolio Media’s

Law360 ranked Kaplan Fox’s securities litigation practice as one of the top 5 in the country

(plaintiff side), and again in July 2014, the Legal 500 ranked Kaplan Fox as one of the top

eight plaintiff’s firms for securities litigation. In March 2013, the National Law Journal

included Kaplan Fox on its list of the top 10 “hot” litigation boutiques, a list that includes

both plaintiff and defense firms. In 2014, 2015 and 2016, more than half of the firm’s

partners – including attorneys on both coasts – were rated “Super Lawyers.”

       The firm has three primary litigation practice areas (antitrust, securities, and

consumer protection), and the firm is a leader in all three. To date, we have recovered

more than $5 billion for our clients and classes. In addition, the firm has expanded its

consumer protection practice to include data privacy litigation, and few other firms can

match Kaplan Fox’s recent leadership in this rapidly emerging field.           The following

describes Kaplan Fox’s major practice areas, its most significant recoveries and its

attorneys.
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Securities Litigation

       Over the past 35 years, Kaplan Fox has been a leader in prosecuting corporate

and securities fraud —ranging from cases concerning accounting fraud to those involving

complicated and complex financial instruments. Since the passage of the Private

Securities Litigation Reform Act in 1995, Kaplan Fox has emerged as one of the foremost

securities litigation firms representing institutional investors of all sizes, including many of

the world’s largest public pension funds.

       Kaplan Fox’s selection by Portfolio Media’s Law360 as one of the five top securities

litigation firms (plaintiff side) for 2009 was based, in part, on the representation of public

pension funds in high profile and complex securities class actions, including In re Merrill

Lynch & Co., Inc. Securities, Derivative & ERISA Litigation; In re Bank of America

Corp. Securities, ERISA & Derivative Litigation; In re Fannie Mae Securities

Litigation; and In re Ambac Financial Group, Inc. Securities Litigation. Some of the

firm’s most significant securities recoveries include:

              In re Bank of America Corp. Securities, Derivative, and ERISA
              Litigation, MDL No. 2058 (S.D.N.Y.) ($2.425 billion recovered)

              In re Merrill Lynch & Co., Inc. Securities Litigation, Master File
              No. 07-CV-9633 (JSR) (S.D.N.Y.) ($475 million recovered)

              In re 3Com Securities Litigation, No. C-97-21083-EAI (N.D. Cal.)
              ($259 million recovered)

              In re Fannie Mae 2008 Securities Litigation, No. 08-cv-7831
              (PAC) (S.D.N.Y.) ($170 million recovered)

              In re MicroStrategy Securities Litigation, No. CV-00-473-A (E.D.
              Va.) ($155 million recovered)

              AOL Time Warner Cases I & II (Opt-out) Nos. 4322 & 4325 (Cal.
              Superior Court, LA County) ($140 million recovered)




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     In re Informix Securities Litigation, C-97-129-CRB (N.D. Cal.)
     ($136.5 million recovered)

     In re Xcel Energy, Inc. Securities Litigation, Master File No. 02-
     CV-2677-DSD (D. Minn.) ($80 million recovered)

     In re Elan Corporation Securities Litigation, No. 02-CV-0865-
     RMB (S.D.N.Y.) ($75 million recovered)

     In re Sequenom, Inc. Securities Litigation, No. 09-cv-921 (S.D.
     Cal.) ($70 million recovered)

     Barry Van Roden, et al. v. Genzyme Corp., et al., No. 03-CV-
     4014-LLS (S.D.N.Y.) ($64 million recovered)




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Antitrust Litigation

       Kaplan Fox has been at the forefront of significant private antitrust actions, and we

have been appointed by courts as lead counsel or members of an executive committee for

plaintiffs in some of the largest antitrust cases throughout the United States.         This

commitment to leadership in the antitrust field goes back to at least 1967, when firm co-

founder Leo Kaplan was appointed by the Southern District of New York to oversee the

distribution of all ASCAP royalties under the 1950 antitrust consent decree in United States

v. American Society of Composers, Authors and Publishers, No. 41-CV-1395

(S.D.N.Y.), a role he held for 28 years until his death in 1995. To this day, ASCAP awards

the “Leo Kaplan Award” to an outstanding young composer in honor of Leo’s 28 years of

service to ASCAP.

       Members of the firm have also argued before the U.S. Courts of Appeals some of the

most significant decisions in the antitrust field in recent years. For example, Robert Kaplan

argued the appeal in In re Flat Glass Antitrust Litigation, 385 F.3d 350 (3d Cir. 2004),

and Greg Arenson argued the appeal in In re High Fructose Corn Syrup Antitrust

Litigation, 295 F.3d 651 (7th Cir. 2002). In a relatively recent survey of defense counsel,

in-house attorneys, and individuals involved in the civil justice reform movement, both were

named among the 75 best plaintiffs’ lawyers in the country based on their expertise and

influence.

       Over the years, Kaplan Fox has recovered over $2 billion for our clients in antitrust

cases. Some of the larger antitrust recoveries include:

              In re Air Cargo Shipping Services Antitrust Litigation, MDL 1775
              (E.D.N.Y.) (settled during trial preparation, for total settlement of
              more than $1.25 billion)




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     In re Neurontin Antitrust Litigation, MDL No. 1479, Master File
     No. 02-1390 (D.N.J.) ($190 million recovered)

     In re High Fructose Corn Syrup Antitrust Litigation, MDL No.
     1087, Master File No. 95-1477 (C.D. Ill.) ($531 million recovered)

     In re Brand Name Prescription Drugs Antitrust Litigation, MDL
     997 (N.D. Ill.) ($720 plus million recovered)

     In re Infant Formula Antitrust Litigation, MDL 878 (N.D. Fla.)
     ($126 million recovered)

     In re Flat Glass Antitrust Litigation, MDL 1200 (W.D. Pa.) ($122
     plus million recovered)

     In re Hydrogen Peroxide Antitrust Litigation, MDL 1682 (E.D. Pa.)
     ($97 million recovered)

     In re Plastics Additives Antitrust Litigation, 03-CV-1898 (E.D.
     Pa.) ($46.8 million recovered)

     In re Medical X-Ray Film Antitrust Litigation, CV 93-5904
     (E.D.N.Y.) ($39.6 million recovered)

     In re NBR Antitrust Litigation, MDL 1684 (E.D. Pa.) ($34.3 million
     recovered)




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Consumer Protection and Data Privacy Litigation

      The consumer protection practice is headquartered in Kaplan Fox’s Bay Area

office, which opened in 2000, and is led by Laurence King, an experienced trial lawyer

and former prosecutor. Mr. King also recently served as a Vice-Chair, and then Co-Chair,

of the American Association for Justice’s Class Action Litigation Group.

      Mr. King and our other effective and experienced consumer protection litigators

regularly champion the interests of consumers under a variety of state and federal

consumer protection laws. Most frequently, these cases are brought as class actions,

though under certain circumstances an individual action may be appropriate.

      Kaplan Fox’s consumer protection attorneys have represented victims of a broad

array of misconduct in the manufacturing, testing, marketing, and sale of a variety of

products and services and have regularly been appointed as lead or co-lead counsel or

as a member of a committee of plaintiffs’ counsel in consumer protection actions by courts

throughout the nation. Among our significant achievements are highly recognized cases

including In re Baycol Products Litigation, MDL 1431-MJD/JGL (D. Minn.) (victims have

recovered $350 million recovered to date); In re Providian Financial Corp. Credit Card

Terms Litigation, MDL No. 1301-WY (E.D. Pa.) ($105 million recovered); In re Thomas

and Friends Wooden Railway Toys Litig., No. 07-cv-3514 (N.D. Ill.) ($30 million

settlement obtained for purchasers of recalled “Thomas Train” toys painted with lead

paint); In re Pre-Filled Propane Tank Marketing and Sales Practices Litigation, No.

4:09-md-2086 (W.D. Mo.) (settlements obtained where consumers will receive

substantially in excess of actual damages and significant injunctive relief); Berry v. Mega

Brands Inc., No. 08-CV-1750 (D.N.J.) (class-wide settlement obtained where consumers




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will receive full refunds for defective products), and David Wolf, et al. v. Red Bull GmBH,

et al., No. 1:13-cv-08008 (S.D.N.Y.) ($13 million settlement fund obtained for purchasers

of Red Bull energy drink).

       Data privacy is a fairly new area of law and broadly encompasses two scenarios.

In a data breach case, a defendant has lawful custody of data, but fails to safeguard it or

use it in an appropriate manner. In a tracking case, the defendant intercepts or otherwise

gathers digital data to which it is not entitled in the first place.

       Kaplan Fox is an emerging leader in both types of data privacy litigation. For

example, Mr. King filed and successfully prosecuted one of very first online data breach

cases, Syran v. LexisNexis Group, No. 05-cv-0909 (S.D. Cal.), and was court-appointed

liaison counsel in a recently successfully concluded data breach case against LinkedIn.

See In re: LinkedIn User Privacy Litigation, No. 12-cv-3088-EJD (N.D. Cal.). The firm

also settled a data privacy case against Universal Property & Casualty Insurance

Company related to the public exposure of sensitive customer data. See Rodriguez v.

Universal Property & Cas. Ins. Co., No. 16-cv-60442-JK (S.D. Fla.).

       The firm is also an industry leader in the even newer field of email and internet

tracking litigation. Kaplan Fox was appointed Co-Lead Class Counsel in a digital privacy

class action against Yahoo!, Inc., related to Yahoo’s alleged practice of scanning emails

for content, which was recently settled. See In re: Yahoo Mail Litigation, 5:13-cv-04980-

LHK (N.D. Cal.). Current cases include In re: Facebook Internet Tracking Litigation,

No. 5:12-md-02314-EJD (N.D. Cal.) (Davila, J.) and In re: Google Inc. Cookie

Placement Consumer Privacy Litig., 12-MD-2358-SLR (D. Del.) (Kaplan Fox appointed

to plaintiffs’ steering committee).




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ATTORNEY BIOGRAPHIES

PARTNERS
       ROBERT N. KAPLAN is widely recognized as a leading plaintiff's litigator and has
led the prosecution of numerous antitrust and securities fraud actions, recovering billions
of dollars for the victims of corporate wrongdoing. He was listed by defense and corporate
counsel as one of the top 75 plaintiffs’ attorneys in the United States for all disciplines.
Mr.   Kaplan    was    listed   as   one   of   the   top   five   attorneys   for   securities
litigation. See Complete List. He was also recognized by Legal 500 as one of the top
securities litigators in the United States for 2011, 2012, 2013, 2014, and 2015, and was
listed as one of the leading antitrust attorneys in the country for 2015. Mr. Kaplan was
recognized as Super Lawyer in the New York Metro Area. He was lead counsel for
CalPERS in AOL Time Warner Cases I & II (Ca. Sup. Ct., L.A. Cty.), and was a lead in In
re Merrill Lynch & Co., Inc. Securities, Derivative & ERISA Litigation, In re Escala
Securities Litigation and In re Bank of America Corp. Securities Litigation, in which a
settlement in the amount of $2.425 billion and corporate governance changes was
approved by the Court.
       In the antitrust arena, he has been a lead counsel in many significant actions. He
is a lead counsel in In re Air Cargo Antitrust Litigation (more than $1.25 billion in
settlements) and was recently appointed by Courts as lead counsel in the DIPF Antitrust
Litigation, In re Cast Iron Soil Pipe and Fittings Antitrust Litigation, and In re Keurig Green
Mountain Single-Serve Coffee Antitrust Litigation.
       He also represents clients in private antitrust actions, including: Affiliated Foods,
Inc., Associated Grocers of New England, Inc., URM Stores, Inc., Western Family Foods,
Inc., and Associated Food Stores, Inc. in individual cases against Tri-Union Seafoods,
LLC, d/b/a Chicken of the Sea, King Oscar, Inc., Bumble Bee Foods, LLC f/k/a Bumble
Bee Seafoods, LLC, and StarKist Co., No. 15-cv-4312, No. 15-cv-3815, No. 15-cv-4187,
No. 15-cv-4667 (N.D. Cal.).
       He previously served, as lead counsel or member of the Executive Committee in
numerous plaintiff treble damage actions including In re Neurontin Antitrust Litigation,
MDL No. 1479, Master File No. 02-1390 (D.N.J.) ($190 million recovered); In re High



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Fructose Corn Syrup Antitrust Litigation, MDL No.1087, Master File No. 95-1477 (C.D. Ill)
($531 million recovered); In re Brand Name Prescription Drugs Antitrust Litigation, MDL
997 (N.D. Ill.) ($720 plus million recovered); In re Infant Formula Antitrust Litigation, MDL
878 (N.D. Fla.)($126 million recovered); In re Flat Glass Antitrust Litigation, MDL 1200
(W.O. Pa.) ($122 plus million recovered) (Mr. Kaplan successfully argued an appeal
before the U.S. Court of Appeals for the Third Circuit, which issued a ground-breaking
and often-cited summary judgment opinion. In re Flat Glass Antitrust Litigation, 385 F.3d
350 (3d ar. 2004); In re Hydrogen Peroxide Antitrust Litigation, MDL 1682 (E.D. Pa.)($97
million recovered); In re Plastics Additives Antitrust Litigation, 03-CV-1898 (E.D.Pa.)
($46.8 million recovered); In re Medical X-Ray Film Antitrust Litigation, CV 93-5904
(E.D.N.Y.) ($39.6 million recovered); and In re NBR Antitrust Litigation, MDL 1684 (E.D.
Pa.) ($34.3 million recovered).
       Mr. Kaplan is also representing financial institutions across the country in data
breach cases against Home Depot and is a member of the Plaintiffs’ Steering Committee.
       Mr. Kaplan was a trial attorney with the Antitrust Division of the U.S. Department
of Justice. There, he litigated civil and criminal actions. He also served as law clerk to the
Hon. Sylvester J. Ryan, then chief judge of the U.S. District Court for the Southern District
of New York and served as an acting judge of the City Court for the City of Rye, N.Y.
       In addition to his litigation practice, he has also been active in bar and legal
committees. For more than fifteen years, he has been a member of what is now known
as the Eastern District of New York’s Courts Committee on Civil Litigation.
       Mr. Kaplan has also been actively involved in the Federal Bar Council, an
organization of judges and attorneys in the Second circuit and is a member of the Program
and Winter Planning Committees.
       Recently Mr. Kaplan was invited by the United States Judicial Center and
participated in a multi-day seminar for federal judges about complex litigation.
       In addition, Mr. Kaplan has served as a member of the Trade Regulation and
Federal Courts Committees of the Association of the Bar of the City of New York.
       Mr. Kaplan’s published articles include: “Complaint and Discovery In Securities
Cases,” Trial, April 1987; “Franchise Statutes and Rules,” Westchester Bar Topics, Winter




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1983; “Roots Under Attack: Alexander v. Haley and Courlander v. Haley,”
Communications and the Law, July 1979.
      Mr. Kaplan sits on the boards of several organizations, including the Columbia Law
School Board of Visitors, Board of Directors of the Carver Center in Port Chester, N.Y.,
Member of the Dana Farber Visiting Committee, Thoracic Oncology in Boston, MA,
and Member of Board of Trustees for the Rye Historical Society.
   Education:
         B.A., Williams College (1961)
         J.D., Columbia University Law School (1964)
   Bar Affiliations and Court Admissions:
         Bar of the State of New York (1964)
         Bar of the District of Columbia (2013)
         U.S. Supreme Court
         U.S. Courts of Appeals for the Second, Third, Seventh, Ninth, Tenth and
          Eleventh Circuits
         U.S. District Courts for the Southern, Eastern, Western and Northern Districts
          of New York, the Central District of Illinois, and the District of Arizona
   Professional Affiliations:
         Federal Bar Council
         Committee to Support the Antitrust Laws (past President)
         National Association of Securities and Commercial Law Attorneys (past
          President)
         Advisory Group of the U.S. District Court for the Eastern District of New York
         American Bar Association
         Association of Trial Lawyers of America (Chairman, Commercial Litigation
          Section, 1985-86)
         Association of the Bar of the City of New York (served on the Trade Regulation
          Committee; Committee on Federal Courts)
         Member of Board of Trustees for the Rye Historical Society
Mr. Kaplan can be reached by email at: RKaplan@kaplanfox.com




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         FREDERIC S. FOX first associated with Kaplan Fox in 1984 and became a partner
in the firm in 1991. For over 30 years, he has concentrated his work in the area of class
action litigation. Mr. Fox has played important roles in many major class action cases. He
was one of the lead trial lawyers in two securities class actions, one of which was the first
case tried to verdict under the Private Securities Litigation Reform Act of 1995.
         Mr. Fox has played a lead role in many major securities class action cases,
including as a senior member of the litigation and trial team in In re Bank of America Corp.
Securities, ERISA, & Derivative Litigation, No. 09-MDL-2058 (S.D.N.Y.) (“In re Bank of
America”). The case arose out of Bank of America’s acquisition of Merrill Lynch. In re
Bank of America which settled for $2.425 billion plus significant corporate governance
reforms and stands as one of the largest securities class action settlements in history. In
In re Bank of America, Mr. Fox served as lead counsel on behalf of major public pension
funds.
         Mr. Fox currently represents many institutional investors including governmental
entities in both class actions and individual litigation. Mr. Fox recently led the team of
attorneys that prosecuted an individual opt-out action on behalf of a public pension fund
arising out of the fraud at Petrobras in Brazil. Other significant cases in which Mr. Fox
served as lead counsel include: In re Merrill Lynch & Co., Inc. Securities, Derivative, &
ERISA Litigation, No. 07-cv-9633 (S.D.N.Y.)(in which he was the primary attorney
responsible for negotiating the $475 million settlement); In re Fannie Mae 2008 Securities
Litigation, No. 08-cv-7831 (S.D.N.Y.) (“In re Fannie Mae 2008”) ($170 million settlement);
In re SunPower Securities Litigation, Case No. 09-cv-5473 (N.D. Cal.); In re Merrill Lynch
Research Reports Securities Litigation (S.D.N.Y.) (arising from analyst reports issued by
Henry Blodget); In re Salomon Analyst Williams Litigation (S.D.N.Y.) and In re Salomon
Focal Litigation (S.D.N.Y.) (both actions stemming from analyst reports issued by Jack
Grubman). Mr. Fox has also handled derivative cases seeking corporate governance
reform and other shareholder litigation on behalf of public pension funds asserting state
law and foreign causes of action. Mr. Fox is a frequent speaker and panelist in both the
U.S and abroad on a variety of topics including securities litigation and corporate
governance.




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       In the consumer protection area, he served on the Plaintiffs’ Steering Committee
in the Baycol Products Litigation where there have been more than $350 million in
settlements. Additionally, he is serving as one of the Co-lead Counsel in In re RC2 Corp.
Toy Lead Paint Products Liability Litigation pending in the Northern District of Illinois.
       Mr. Fox is listed in the current editions of New York Super Lawyers and was
recognized in Benchmark Litigation as a New York “Litigation Star.”
       Mr. Fox is the author of “Current Issues and Strategies in Discovery in Securities
Litigation,” ATLA, 1989 Reference Material; “Securities Litigation: Updates and
Strategies,” ATLA, 1990 Reference Material; and “Contributory Trademark Infringement:
The Legal Standard after Inwood Laboratories, Inc. v. Ives Laboratories,” University of
Bridgeport Law Review, Vol. 4, No. 2.
       During law school, Mr. Fox was the notes and comments editor of the University
of Bridgeport Law Review.
   Education:
          B.A., Queens College (1981)
          J.D., Bridgeport School of Law (1984)
   Bar Affiliations and Court Admissions:
          Bar of the State of New York (1985)
          Bar of the District of Columbia (2013)
          U.S. Supreme Court
          U.S. Courts of Appeals for the First, Second, Fourth, Sixth and Eleventh
           Circuits
          U.S. District Courts for the Southern and Eastern Districts of New York, the
           District of Colorado and the District of Columbia
   Professional Affiliations:
          Federal Bar Council
          American Bar Association
          Association of the Bar of the City of New York
          Association of Trial Lawyers of America (Chairman, Commercial Law Section,
           1991-92)
Mr. Fox can be reached by email at: FFox@kaplanfox.com



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       GREGORY K. ARENSON is a seasoned business litigator with experience
representing clients in a variety of areas, including antitrust, securities, and employee
termination. Mr. Arenson is principally a plaintiffs' antitrust lawyer. His economics and
econometrics background have provided a foundation for his recognized expertise in
handling complex economic issues in antitrust cases, both as to class certification and on
the merits. He has worked with economic experts in, among others, In re Air Cargo
Shipping Servs. Antitrust Litig., Master File No. 06-MD-1175 (JG)(VVP), 2014 WL
7882100 (E.D.N.Y. Oct. 15, 2014), adopted in its entirety, 2015 WL 5093503 (E.D.N.Y.
July 10, 2015); In re Ethylene Propylene Diene Monomer (EPDM) Antitrust Litig., 256
F.R.D. 82 (D. Conn. 2009); In re Foundry Resins Antitrust Litig., 242 F.R.D. 393 (S.D.
Ohio 2007); In re Carbon Black Antitrust Litig., No. Civ. A. 03-10191-DPW, MDL No.
1543, 2005 WL 102966 (D. Mass. Jan. 18, 2005); In re Microcrystalline Cellulose Antitrust
Litig., 218 F.R.D. 79 (E.D. Pa. 2003); Bearings Cases, Case No. 12-00501, and Wire
Harness Cases, Case No. 12-00101, part of In re Automotive Parts Antitrust Litig., E.D.
Mich., Master File No. 12-md-02311; Affiliated Foods, Inc., et al. v. Tri-Union Seafoods,
LLC d/b/a Chicken of the Sea Int’l, et al., part of In re Packaged Seafood Prods. Antitrust
Litig., S.D. Cal., Case No. 15-MD-2670 JLS (MDD); In re Domestic Airline Travel Antitrust
Litig., D.D.C., MDL Docket No. 2656, Misc. No. 15-1404 (CKK); In re Dental Supplies
Antitrust Litig., E.D.N.Y., Case No. 16-cv-696 (BMC)(GRB); In re Ductile Iron Pipe Fittings
(“DIPF”) Direct Purchaser Antitrust Litig., D.N.J., Civ. No. 12-711 (AET)(LHG); In re Cast
Iron Soil Pipe & Fittings Antitrust Litig., E.D. Tenn., No. 1:14-md-2508; and In re Pool
Prods. Distribution Mkt. Antitrust Litig., E.D. La., MDL No. 2328. He also argued the
appeals in In re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651 (7th Cir. 2002),
and In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305 (3d Cir. 2009). He has been
ranked as a Super Lawyer for several years.
       Mr. Arenson has been a partner in Kaplan Fox & Kilsheimer LLP since 1993. Prior
to joining Kaplan Fox, he was a partner with Proskauer Rose LLP. Earlier in his career,
he was a partner with Schwartz Klink & Schreiber and an associate with Rudnick & Wolfe
(now DLA Piper).
       Mr. Arenson has been active in the New York State Bar Association. He has been
a member of the House of Delegates and Sections Caucus from 2013 to 2017 and since



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June 2019. He was Chair of the Commercial and Federal Litigation Section from June
2013 through May 2014. He has been Co-Chair of the New York State Bar Association
Task Force on the State of Our Courthouses, whose report was adopted by the House of
Delegates on June 20, 2009; a member of the New York State Bar Association Special
Committee on Standards for Pleadings in Federal Litigation, whose report was adopted
by the House of Delegates on June 19, 2010; and a member of the New York State Bar
Association Special Committee on Discovery and Case Management in Federal
Litigation, whose report was adopted by the House of Delegates on June 23, 2012.
      Mr. Arenson has written frequently on discovery issues. His published articles
include: "Rule 68 Offers of Judgment and Mootness, Especially for Collective or Class
Actions," 20 NY LITIGATOR 25 (2015); "Report on Proposed Amendments to Federal
Rule of Civil Procedure 45," 17 NY LITIGATOR 21 (2012); “Rule 8 (a)(2) After Twombly:
Has There Been a Plausible Change?” 14 NY LITIGATOR 23 (2009); “Report on
Proposed Federal Rule of Evidence 502,” 12 NY LITIGATOR 49 (2007); “Report: Treating
the Federal Government Like Any Other Person: Toward a Consistent Application of Rule
45,” 12 NY LITIGATOR 35 (2007); “Report of the Commercial and Federal Litigation
Section on the Lawsuit Abuse Reduction Act of 2005,” 11 NY LITIGATOR 26 (2006);
“Report Seeking To Require Party Witnesses Located Out-Of-State Outside 100 Miles To
Appear At Trial Is Not A Compelling Request,” 11 NY LITIGATOR 41 (2006); “Eliminating
a Trap for the Unwary: A Proposed Revision of Federal Rule of Civil Procedure 50,” 9 NY
LITIGATOR 67 (2004); “Committee Report on Rule 30(b)(6),” 9 NY LITIGATOR 72
(2004); “Who Should Bear the Burden of Producing Electronic Information?” 7 FEDERAL
DISCOVERY NEWS, No. 5, at 3 (April 2001); “Work Product vs. Expert Disclosure – No
One Wins,” 6 FEDERAL DISCOVERY NEWS, No. 9, at 3 (August 2000); “Practice Tip:
Reviewing Deposition Transcripts,” 6 FEDERAL DISCOVERY NEWS, No. 5, at 13 (April
2000); “The Civil Procedure Rules: No More Fishing Expeditions,” 5 FEDERAL
DISCOVERY NEWS, No. 9, at 3 (August 1999); “The Good, the Bad and the
Unnecessary: Comments on the Proposed Changes to the Federal Civil Discovery
Rules,” 4 NY LITIGATOR 30 (1998); and “The Search for Reliable Expertise: Comments
on Proposed Amendments to the Federal Rules of Evidence,” 4 NY LITIGATOR 24
(1998). He was co-editor of FEDERAL RULES OF CIVIL PROCEDURE, 1993



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AMENDMENTS, A PRACTICAL GUIDE, published by the New York State Bar
Association; and a co-author of “Report on the Application of Statutes of Limitation in
Federal Litigation,” 53 ALBANY LAW REVIEW 3 (1988).
       Mr. Arenson serves as a mediator in the U.S. District Court for the Southern District
of New York. In addition, he is an active alumnus of the Massachusetts Institute of
Technology, having served as a member of the Corporation, a member of the Corporation
Development Committee, vice president of the Association of Alumni/ae, and member of
the Annual Fund Board (of which he was a past chair).
   Education:
          S.B., Massachusetts Institute of Technology (1971)
          J.D., University of Chicago (1975)
   Bar Affiliations and Court Admissions:
          Bar of the State of Illinois (1975)
          Bar of the State of New York (1978)
          U.S. Supreme Court
          U.S. Courts of Appeals for the Second, Third and Seventh Circuits
          U.S. District Courts for the Northern and Central Districts of Illinois, Southern
           and Eastern Districts of New York, and Eastern District of Michigan
          U.S. Tax Court
Mr. Arenson can be reached by email at: GArenson@kaplanfox.com


       LAURENCE KING first joined Kaplan Fox as an associate in 1994. He became a
partner of the firm in 1998. While Mr. King initially joined the firm in New York, in 2000 he
relocated to San Francisco to open the firm's first West Coast office. He is now partner-
in-charge of the firm's San Francisco and Los Angeles offices.
       Mr. King practices primarily in the areas of securities litigation, with an emphasis
on institutional investor representation and consumer protection litigation. He has also
practiced in the area of employment litigation. Mr. King has played a substantial role in
cases that have resulted in some of the largest recoveries ever obtained by Kaplan Fox,
including In re 3Com Securities Litigation (N.D. Ca.), In re Informix Securities Litigation
(N.D. Ca.), AOL Time Warner Cases I & II (Ca. Sup. Ct., L.A. Cty.) and Providian Credit



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Card Cases (Ca. Sup. Ct., S.F. Cty.).
       An experienced trial lawyer, prior to joining Kaplan Fox Mr. King served as an
assistant district attorney under the legendary Robert Morgenthau in the Manhattan (New
York County) District Attorney's Office, where he tried numerous felony prosecutions to
jury verdict. At Kaplan Fox, he was a member of the trial team for two securities class
actions tried to verdict, In re Biogen Securities Litigation (D. Mass.) and In re Health
Management Securities Litigation (E.D.N.Y.). Mr. King has also participated in trial
preparation for numerous other cases in which favorable settlements were achieved for
our clients on or near the eve of trial.
       Mr. King has been selected for inclusion in the Northern California SuperLawyers
each year since 2012, and has previously served as Vice-Chair, and then as Co-Chair,
of the American Association for Justice’s Class Action Litigation Group of the American
Association for Justice. He was also selected for inclusion to the San Francisco Super
Lawyers list (Securities Litigation) for 2012, 2013, 2014 and 2015.
   Education:
          B.S., Wharton School of the University of Pennsylvania (1985)
          J.D., Fordham University School of Law (1988)
   Bar Affiliations and Court Admissions:
          Bar of the State of New York (1989)
          Bar of the State of California (2000)
          U.S. Court of Appeals for the Second, Third, Fifth, Ninth and Tenth Circuits
          U.S. District Courts for the District of New Jersey, Eastern District of
           Pennsylvania, Southern and Eastern Districts of New York, and Northern,
           Central and Southern Districts of California
   Professional Affiliations:
          Bar Association of San Francisco
          American Bar Association
          American Association for Justice
          San Francisco Trial Lawyers’ Association
          American Business Trial Lawyers
Mr. King can be reached by email at: LKing@kaplanfox.com



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       JOEL B. STRAUSS first associated with Kaplan Fox in 1992 and became a
partner in the firm in 1999. He practices in the area of securities and consumer fraud class
action litigation. He has been repeatedly selected for inclusion to the New York
Super Lawyers list (Securities Litigation) (2007-2010, 2014-2019) and was named to
Lawdragon's 500 Leading Plaintiff Financial Lawyers in the U.S. (2019).
       Prior to law school, Mr. Strauss was a senior auditor at the accounting firm Coopers
& Lybrand (n/k/a PricewaterhouseCoopers). Combining his accounting background and
legal skills, he has played a critical role in successfully prosecuting numerous securities
class actions across the country on behalf of shareholders. Mr. Strauss was one of the
lead trial lawyers for the plaintiffs in the first case to go to trial and verdict under the Private
Securities Litigation Reform Act of 1995.
       More recently, Mr. Strauss has been involved in representing the firm’s institutional
clients in the following securities class actions, among others: In re Bank of America Corp.
Securities, ERISA & Derivative Litig. (S.D.N.Y.) ($2.425 billion settlement); In re Merrill
Lynch & Co., Inc. Securities, Derivative and ERISA Litig. (S.D.N.Y.) ($475 million
settlement); In re Prestige Brands Holdings Inc. Securities Litig. (S.D.N.Y.) ($11 million
settlement); In re Gentiva Securities Litig. (E.D.N.Y.) ($6.5 million settlement); and In Re
SunPower Securities Litig. (N.D.Cal) ($19.7 million settlement). He has also served as
lead counsel for lead plaintiffs in In re OCA, Inc. Securities Litig. (E.D. La.) ($6.5
million settlement); In re Proquest Company Securities Litig. (E.D. Mich.) ($20 million
settlement) and In re Rocket Fuel, Inc. Securities Litig. (N.D.Cal.) ($3.15 million
settlement). Mr. Strauss also played an active role for plaintiff investors in In Re
Countrywide Financial Corporation Securities Litig. (C.D.Cal), which settled for more than
$600 million.
       In the consumer protection area, Mr. Strauss served as Chair of Plaintiffs' Non-
Party Discovery Committee in the Baycol Products Litig., where there were more than
$350 million in settlements.
       Mr. Strauss is also active in the firm's growing data privacy practice. In July 2017
he moderated a panel on U.S. Data Privacy Laws at a conference in Tel Aviv. And, among
other data privacy cases in which he has played an active role, Mr. Strauss served as
one of plaintiffs' co-lead counsel in Doe vs. CVS Healthcare Corp., et. al., (S.D. Ohio), a



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class action concerning allegations of the violation of medical privacy of approximately
4,500 class members. The Court approved of a $4.4 million settlement of the action on
January 30, 2020.
         Although currently practicing exclusively in the area of law, Mr. Strauss is a
licensed Certified Public Accountant in the State of New York.
         Mr. Strauss has also been a guest lecturer on the topics of securities litigation,
auditors’ liability and class actions for seminars sponsored by the Practicing Law Institute
and the Association of the Bar of the City of New York and is an adjunct instructor in the
Political Science department at Yeshiva University.
         Since June 2014 Mr. Strauss has served as a member of the New York State Bar
Association's Committee on Legal Education and Admission to the Bar. And, in July 2018,
Mr. Strauss was invited to serve as a member of the Rutgers Cybersecurity Advisory
Board.
         Among his various communal activities, Mr. Strauss currently serves as Co-
President of Friends of Jerusalem College of Technology (Machon Lev), is a member of
Yeshiva University’s General Counsel’s Council, a member of the Alumni Advisory Group
at the Benjamin N. Cardozo School of Law, serves as Chair of the Career Guidance and
Placement Committee of Yeshiva University's Undergraduate Alumni Council, is on the
Board of Directors of Yavneh Academy in Paramus, NJ (and is a former Vice -President
and Finance Committee Chair of the school) and is a Mentor in the Orthodox Union's
Impact Accelerator program.
         In March 2001 the New Jersey State Assembly issued a resolution recognizing
and commending Mr. Strauss for his extensive community service and leadership.
In 2012 Mr. Strauss received The Alumni Partner of the Year Award from Yeshiva
University's Career Development Office.
   Education:
            B.A., Yeshiva University (1986)
            J.D., Benjamin N. Cardozo School of Law (1992)
            HBX|Harvard Business School, Certificate in Entrepreneurship Essentials
             (2017)




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          AICPA     -   Cybersecurity   Fundamentals     for   Finance   and    Accounting
           Professionals Certificate (2018)
   Bar Affiliations and Court Admissions:
          Bar of the State of New Jersey (1992)
          Bar of the State of New York (1993)
          U.S. Court of Appeals for the First, Second and Third Circuits
          U.S. District Courts for the Southern and Eastern Districts of New York and the
           District of New Jersey
   Professional Affiliations:
          American Bar Association (member, Litigation Section, Rule 23 subcommittee)
          Association of the Bar of the City of New York
          New York State Bar Association
          American Institute of Certified Public Accountants
Mr. Strauss can be reached by email at: JStrauss@kaplanfox.com


       HAE SUNG NAM joined Kaplan Fox in 1999 and became a partner of the firm in
2005. She practices in the areas of securities and antitrust litigation, mainly focusing in
the firm’s securities practice.
        Since joining the firm, Ms. Nam has been involved in all aspects of the securities
practice, including case analysis for the firm’s institutional investor clients. She has been
a key member of the litigation team representing a number of institutional clients in
securities litigation, including cases against Bank of America Corporation, Fannie Mae
and Ambac Financial Group, Inc.. She also has a focus in prosecuting opt-out actions on
behalf of the firm’s clients and has played a significant role in AOL Time Warner Cases I
& II (Ca. Sup. Ct., L.A. Cty.) and State Treasurer of the State of Michigan v. Tyco
International, Ltd., et al, and an opt-out case against Petrobras representing Ohio Public
Employees Retirement System.
        Ms. Nam has also been involved in the firm’s antitrust practice, representing
purchasers of flat glass products in a class action alleging a price-fixing conspiracy. She
is currently prosecuting an antitrust case against Keurig. Prior to joining the firm, Ms.




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Nam was an associate with Kronish Lieb Weiner & Hellman LLP, where she trained as a
transactional attorney in general corporate securities law and mergers and acquisitions.
       Ms. Nam graduated magna cum laude, with a duel degree in political science and
public relations from Syracuse University’s Maxwell School and S.I. Newhouse School of
Public Communications. Ms. Nam obtained her law degree, with honors, from George
Washington University Law School. During law school, Ms. Nam was a member of the
George Washington University Law Review. She is the author of a case note, “Radio—
Inconsistent Application Rule,” 64 Geo. Wash. L. Rev. (1996). In addition, she also
served as an intern for the U.S. Department of Justice, Antitrust Division.
   Education:
          B.A., magna cum laude, Syracuse University (1994)
          J.D., with honors, George Washington University Law School (1997)
   Bar Affiliations and Court Admissions:
          Bar of the State of New York (1998)
          U.S. Court of Appeals for the Eleventh Circuit
          U.S. District Courts for the Southern and Eastern Districts of New York, and
           Eastern District of Wisconsin
Ms. Nam can be reached by email at: HNam@kaplanfox.com


       DONALD R. HALL has been associated with Kaplan Fox since 1998 and became
a partner of the firm in 2005. He practices in the areas of securities, antitrust and
consumer protection litigation. Mr. Hall is actively involved in maintaining and establishing
the firm’s relationship with institutional investors and oversees the Portfolio Monitoring
and Case Evaluation Program for the firm’s numerous institutional investors.
       Mr. Hall was a member of the trial team prosecuting In re Bank of America, which
settled for $2.425 billion, the single largest securities class action recovery for violations
of Section 14(a) of the Exchange Act and one of the top securities litigation settlements
obtained in history. He has represented many of the firm’s institutional investor clients in
securities class actions, including in In re Eletrobras Secs. Litig., Case No. 15-cv-5754 as
co-lead counsel in a class action against a Brazilian company and in Kasper v. AAC
Holdings, Inc., No. 15-cv-00923, also as co-lead counsel.             Mr. Hall successfully


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represented institutional clients in In re Merrill Lynch, which settled for $475 million; In re
Fannie Mae 2008, which settled for $170 million; In re Ambac Financial Group, Inc.
Securities Litigation, No. 08-cv-411 (S.D.N.Y.) (“In re Ambac”); In re Majesco Securities
Litigation, No. 05-cv-3557 (D.N.J.); and In re Escala Group, Inc. Secs. Litig., No. 05-cv-
3518 (S.D.N.Y.) (“In re Escala”). Additionally, he was a member of the litigation team in
AOL Time Warner Cases I & II, an opt-out action brought by institutional investors that
settled just weeks before trial, resulting in a recovery of multiples of what would have
been obtained had those investors remained members of the class action.
       Mr. Hall has played a key role in many of the firm’s securities and antitrust class
actions resulting in substantial recoveries for the firm’s clients, including In re Merrill Lynch
Research Reports Securities Litigation (arising from analyst reports issued by Henry
Blodget); In re Salomon Analyst Williams Litigation and In re Salomon Focal Litigation
(both actions stemming from analyst reports issued by Jack Grubman); In re Flat Glass
Antitrust Litigation; and In re Compact Disc Antitrust Litigation.
       Mr. Hall graduated from the College of William and Mary in 1995 with a B.A. in
Philosophy and obtained his law degree from Fordham University School of Law in 1998.
During law school, Mr. Hall was a member of the Fordham Urban Law Journal and a
member of the Fordham Moot Court Board. He also participated in the Criminal Defense
Clinic, representing criminal defendants in federal and New York State courts on a pro-
bono basis.
   Education:
          B.A., College of William and Mary (1995)
          J.D., Fordham University School of Law (1998)
   Bar Affiliations and Court Admissions:
          Bar of the State of Connecticut
          Bar of the State of New York
          U.S. Supreme Court
          U.S. Courts of Appeals for the First, Second and Eleventh Circuits
          U.S. District Courts for the Southern and Eastern Districts of New York
   Professional Affiliations:
          American Bar Association



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          Association of Trial Lawyers of America
          New York State Bar Association
Mr. Hall can be reached by email at: DHall@kaplanfox.com


       JEFFREY P. CAMPISI is involved in representing the firm’s institutional and
individual clients in securities and shareholder actions, and other complex litigation.
       Mr. Campisi currently represents the College of Applied Arts and Technology
Pension Plan in Rauch v. Vale, S.A., et al., 19-cv-00526 (E.D.N.Y.); the City of Warwick
Retirement Fund in Lewis v. YRC Worldwide, Inc., et al., 19cv00001 (N.D.N.Y.), IWA
Forest Industry Pension Plan in In re Textron, Inc. Securities Litigation, 19-cv-7881
(S.D.N.Y.); and represents individual investors in In re Twitter, Inc. Securities
Litigation, Civil Action 4:19-7149-YRG (N.D. Cal.); In re Sundial Growers Inc. Securities
Litigation, Index No.: 655178/2009 (N.Y. County Supreme Court): In re Sonim
Technologies Inc. Securities Litigation, Leas Case No. 19-CIV-5564 (California Superior
Court, San Mateo County); and Convery v. Jumia Technologies AG, et al., Index No.
656021/2019 (N.Y. County Supreme Court).
       In the past, Mr. Campisi has represented Oklahoma Police Pension and
Retirement Fund (as liaison counsel) in Milbeck v. Truecar, Inc. et al., 18-cv-2612 (C.D.
Cal.) ($28.25 million recovered); the Tennessee Consolidated Retirement System in In re
Fannie     Mae   2008   Securities   Litigation,   08cv7831    (S.D.N.Y.)   ($170    million
recovered); State Teachers’ Retirement System of Ohio in In re Merrill Lynch & Co., Inc.
Securities, Derivative and ERISA Litigation, 07cv9633 (S.D.N.Y.) ($475 million
recovered), one of the largest recoveries in a securities class action; the Virginia
Retirement System in In re Escala Group, Inc. Securities Litigation, 06cv3518 (S.D.N.Y.)
($18 million in cash and stock recovered); the Los Angeles City Employees’ Retirement
System in In re Sequenom, Inc. Securities Litigation, 09cv921 (S.D. Cal.) ($43 million in
cash and stock recovered, as of February 4, 2010, and significant corporate governance
reforms) and in In re Gentiva Securities Litigation, 10cv5064 (E.D.N.Y.) ($6.5 million
recovered).
       Other cases include Schueneman v. Arena Pharms., et al., 10cv1959 (S.D. Cal.)
($24 million recovered); Kasper v. AAC Holdings, Inc., et al., 15cv923 (M.D. Tenn.) ($25



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million recovered); In re SandRidge Energy, Inc. Shareholder Derivative Litigation, No.
CIV-13-102-W (W.D. Okla.) ($38.5 million recovered); In re Violin Memory, Inc. Securities
Litigation, 13cv5486 (N.D. Cal.) ($7.5 million recovered); In re Nevsun Resources Ltd.,
12cv1845 (S.D.N.Y.) (approximately $6 million settlement); In re Countrywide Financial
Corporation Securities Litigation, 07cv5295 (C.D. Cal) ($624 million recovered), In re
Proquest Company Securities Litigation, 06cv10619 (E.D. Mich.) ($20 million recovered),
and Friedman v. Penson Worldwide, Inc., 11cv2098 (N.D. Tex.) ($6.5 million recovered).
       Mr. Campisi is a graduate of Villanova University School of Law (summa cum
laude), where he was a member of the Villanova Law Review and the Order of the Coif.
Mr. Campisi earned a B.A. from Georgetown University (cum laude). Mr. Campisi served
as a law clerk to the Late Honorable Herbert J. Hutton, United States District Judge for
the United States District Court for the Eastern District of Pennsylvania.
       Mr. Campisi is admitted to the Bar of the State of New York and the United States
District Courts for the Northern, Southern, Eastern and Western Districts of New York,
the United States District Court for the Western District of Tennessee, and the United
States Courts of Appeals for the Ninth and Tenth Circuits.
       Education:
          B.A., cum laude, Georgetown University (1996)
          J.D., summa cum laude, Villanova University School of Law (2000)
           Member of Law Review and Order of the Coif
   Bar affiliations and court admissions:
          Bar of the State of New York
          U.S. Courts of Appeals for the Ninth and Tenth Circuits
          U.S. District Courts for the Southern, Eastern, Northern and Western Districts
           of New York, and Western District of Tennessee
   Professional affiliations:
          Federal Bar Council
          American Association for Justice
Mr. Campisi can be reached by email at: jcampisi@kaplanfox.com




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       MELINDA CAMPBELL has been associated with Kaplan Fox since September
2004 and became a partner of the firm in 2012. She represents investors and institutions
in securities fraud class action litigation.
       Mrs. Campbell’s noteworthy cases include: In re Bank of America Corp. Securities
Litigation, MDL No. 2058 (S.D.N.Y.); In re Ambac Financial Group, Inc. Securities
Litigation, No. 08-cv-411(NRB) (S.D.N.Y.); In re Fannie Mae 2008 Securities Litigation,
No. 08-cv-7831(PAC) (S.D.N.Y.), and In re Eletrobras Securities Litigation, 15-cv-5754
(S.D.N.Y.) ($14.75 million settlement).
       Mrs. Campbell obtained her J.D. from the University of Pennsylvania Law School.
While attending law school, she successfully represented clients of the Civil Practice
Clinic of the University of Pennsylvania Law School and provided pro bono legal services
through organizations including the Southern Poverty Law Center.
       Mrs. Campbell obtained her undergraduate degree from the University of Missouri
(cum laude).
       Mrs. Campbell is a member of the Federal Courts Committee of the New York
County Lawyers Association and served as a panelist in a continuing legal education
course offered by the Committee concerning waiver of attorney-client privilege under
Federal Rule of Evidence 501. Additionally, Mrs. Campbell is a member of the New York
State Bar Association, the National Association of Women Lawyers, and the New York
Women’s Bar Association.
   Education:
          B.A., University of Missouri (2000)
          J.D., University of Pennsylvania Law School (2004)
   Bar affiliations and court admissions:
       Bar of the State of New York (2005)
          U.S. Courts of Appeals for the First, Second and Eleventh Circuits
          U.S. District Courts for the Southern and Eastern Districts of New York
   Professional affiliations:
          American Bar Association
          New York State Bar Association
          New York County Lawyers Association



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          New York Women’s Bar Association
          National Association of Women Lawyers
Mrs. Campbell can be reached by email at: MCampbell@kaplanfox.com


       ELANA KATCHER has extensive complex antitrust litigation experience drawn
from her work on both the plaintiff and defense sides. Ms. Katcher began her career in
antitrust litigation as an associate at Sullivan & Cromwell LLP where she was a member
of the trial team defending Microsoft Corporation against a series of private class actions
brought in courts around the country, as well as representing other major defendants in
bet-the-company litigation.
       Since 2007, Ms. Katcher has been instrumental in some of Kaplan Fox’s largest
cases, including In re Air Cargo Shipping Servs. Antitrust Litig., MDL No. 1775 (E.D.N.Y.),
and a successful bellwether trial in Neurontin Marketing, Sales Practices & Products
Liability Litig., MDL No. 1629 (D. Mass.). In addition, Ms. Katcher co-drafted a successful
opposition to the first Rule 12(b)(6) motion to dismiss in the sprawling Generic
Pharmaceutical antitrust actions, In re Propranolol Antitrust Litig., 249 F. Supp. 3d 712
(S.D.N.Y. 2017) (Rakoff, J.), and continues to work on behalf of the Direct Purchaser
Plaintiffs in the Generic Pharmaceutical antitrust actions now pending before District
Judge Cynthia M. Rufe in the Eastern District of Pennsylvania, including as part of the
briefing team that recently prevailed against the first tranche of motions to dismiss brought
in that litigation. See In re Generic Pharm. Pricing Antitrust Litig., No. 16-CB-27243, 2018
WL 5003450 (E.D. Pa. Oct. 16, 2018).
       In addition, Ms. Katcher represents significant corporate clients, including clients
listed on Nasdaq, in individual antitrust actions in Packaged Seafood in which she has
recently co-argued a key motion to dismiss before District Judge Janis L. Sammartino,
obtaining a significant victory where the court upheld jurisdiction over two foreign
defendants. See In re Packaged Seafood Prod. Antitrust Litig., No. 15-MD-2670 JLS
(MDD), 2018 WL 4222506 (S.D. Cal. Sept. 5, 2018). Ms. Katcher has also taken major
depositions of key witnesses in the U.S., Hong Kong, and Frankfurt, in Air Cargo,
Packaged Seafood, and other cases.




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       Prior to Kaplan Fox, she was an associate at Sullivan & Cromwell LLP and King &
Spalding LLP, where she participated in the defense of major companies, including at trial
and in arbitration.
   Education:
           B.A. Oberlin College
           J.D., New York University
   Bar Affiliations and Court Admissions:
           Bar of the State of New York
           U.S. District Courts for the Southern and Eastern Districts of New York
   Professional Affiliations:
           New York State Bar Association
           New York City Bar Association
Ms. Katcher can be reached by email at: ekatcher@kaplanfox.com


       MATTHEW P. McCAHILL was associated with Kaplan Fox from 2003 to 2005, re-
joined the firm in May 2013 and became a partner in 2016. He practices in the areas of
antitrust and securities litigation, as well as commercial litigation. From 2006 to early
2013, Mr. McCahill was an associate at Berger & Montague, P.C. in Philadelphia. While
focusing on insurance and antitrust class action cases, including In re Payment Card
Interchange Fee and Merchant Discount Antitrust Litigation, MDL No. 1720 (E.D.N.Y.)
and Ormond et al. v. Anthem, Inc. et al., Case No. 1:05-cv-01908-TWP-TAB (N.D. Ind.)
(related to the demutualization of Anthem Insurance, which settled for $90 million in
2012), he also represented corporations and bankruptcy trustees in commercial litigation
involving claims for breach of contract, breach of fiduciary duty and fraudulent
conveyance.
       Mr. McCahill’s practice includes representation of plaintiffs opting out of class
actions. He currently represents large retailers who opted out of the Payment Card class
to pursue their own antitrust actions against Visa and MasterCard challenging the
networks’ merchant rules and their interchange (or “swipe”) fees. Among the merchants
he and the firm represent in that case are E-Z Mart Stores, Inc., Sunoco, LP (formerly
known as Susser Holdings Corp., operator of the Stripes® convenience store chain),



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Jacksons Food Stores, Sheetz, Inc., Kum & Go, L.C., Einstein Noah Restaurant Group,
Furniture Row, Inc. and NPC International, Inc. (the world’s largest franchisee of Pizza
Hut restaurants).
       Mr. McCahill is part of the Kaplan Fox team representing large grocery chains and
food distributors (including Giant Eagle, Inc., Associated Food Stores, Inc., Affiliated
Foods, Inc., Western Family Foods, Inc. and the McLane Company, Inc., among others)
in individual actions in In re Packaged Seafood Products Antitrust Litigation, MDL No.
2670 (S.D. Cal.), alleging price-fixing and other antitrust violations against Tri-Union
Seafoods, LLC (d/b/a Chicken of the Sea), Bumble Bee Foods, LLC, and others. He and
other Kaplan Fox lawyers are also representing the Ohio Public Employees Retirement
System in an individual securities fraud action against Brazilian energy conglomerate
Petrobras in In re Petrobras Securities Litigation, Civ. Action No. 14-cv-9662 (JSR)
(S.D.N.Y.).
       Mr. McCahill’s current and past involvement in class action litigation at Kaplan Fox
includes: In re Cast Iron Soil Pipe Antitrust Litigation, MDL No. 2508 (E.D. Tenn.), where
he currently represents a proposed class of direct purchasers of cast iron soil pipes and
fittings in an antitrust case against the Cast Iron Soil Pipe Institute, Charlotte Pipe &
Foundry Co. and McWane, Inc. and its subsidiaries; In re SandRidge Energy, Inc.
Shareholder Derivative Litigation, No. CIV-13-102-W (W.D. Okla.) (partial settlement of
$38 million); In re Neurontin Antitrust Litigation, MDL No. 1479 (D.N.J.) (delayed-generic
entry action brought by direct purchasers of Pfizer’s drug Neurontin, which settled for
$190 million following nearly 12 years of litigation).
       In 2014, 2015 and 2016, Mr. McCahill was named a “New York Metro Super
Lawyer – Rising Star” in antitrust litigation, and was selected as a “Pennsylvania Super
Lawyer – Rising Star” (also in antitrust litigation) in 2012 and 2013. He is a member of
the American, Pennsylvania State, New York State and New York City bar associations.
Mr. McCahill’s pro bono efforts focus primarily on representing Marine Corps veterans in
benefits proceedings before the Veterans Administration.
       Mr. McCahill is a 2000 graduate of Rutgers College where he received a
B.A., summa cum laude, in history and was elected to Phi Beta Kappa. He graduated




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from Fordham Law School in 2003, where he was a member of the Fordham Urban Law
Journal. He is fluent in French and proficient in Spanish.
   Education:
          B.A., History, summa cum laude, Rutgers College (2000)
          J.D., Fordham Law School (2003)
   Bar Affiliations and Court Admissions:
          Bars of the State of New York and the Commonwealth of Pennsylvania
          U.S. Court of Appeals for the Second Circuit
          U.S. District Courts for the Southern and Eastern Districts of New York and
           the Eastern District of Pennsylvania
   Professional Affiliations:
          American Bar Association
          New York State Bar Association
          Pennsylvania Bar Association
          Association of the Bar of the City of New York
Mr. McCahill can be reached by email at: mmccahill@kaplanfox.com

       DAVID A. STRAITE joined the New York office of Kaplan Fox in 2013 and became
a partner in 2017. He focuses on digital privacy litigation, helping to protect consumer
privacy in class actions against Facebook, Google, Yahoo and others. In 2012, M.I.T.
Technology Review magazine called Mr. Straite “something of a pioneer” in digital privacy
litigation. Mr. Straite also protects investors in securities, corporate governance, and
hedge fund litigation. Prior to joining the firm, Mr. Straite helped launch the US offices of
London-based Stewarts Law LLP, where he was the global head of investor protection
litigation, the partner in residence in New York, and a member of the US executive
committee. Prior to Stewarts Law he worked in the Delaware office of Grant & Eisenhofer
and the New York office of Skadden Arps.
       Mr. Straite speaks frequently on topics related to both privacy and investor
protection. Most recently:
       January 2020: featured panelist, "Balancing Government Investigation and Class
       Action Following a Data Breach" seminar at the Southern District of New York,
       hosted by the Federal Bar Council and moderated by the Hon. Naomi Reice


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         Buchwald.

         March 2018: featured panelist at the "Recent Developments in Cybersecurity and
         Data Privacy" seminar at the Southern District of New York, hosted by the Federal
         Bar Council and moderated by the late Hon. Deborah Batts.

         February 2017: featured panelist on the "Data Privacy and Article III Standing"
         panel at the Federal Bar Council's 2017 Winter Meeting along with Dean Erwin
         Chemerinsky and the Hon. Lorna Schofield.

         February 2016: featured speaker at the St. John's University "Cyber Law" CLE
         weekend.

         February 2013: featured panelist on the hedge fund panel at the February 6, 2013
         meeting of the National Association of Public Pension Attorneys in Washington,
         D.C. ("Structuring Investments - Do I get to Go to the Cayman Islands?")

         David also debated the general counsel of Meetup, Inc. during 2013 Social Media
Week (“David vs. Goliath: the Global Fight for Digital Privacy”) and gave a guest lecture
on the Legal Talk Network’s “Digital Detectives” podcast. He has also given interviews
to Channel 10 (Tel Aviv), BBC World News (London), SkyNews (London), CBS Ch. 2
(New York) and CBS news radio (Philadelphia).
         Mr. Straite is also an adjunct professor at Yeshiva University's Sy Syms School of
Business, teaching Business Law and Ethics for the Fall semester (2015, 2016, 2017 and
2019).
         Mr. Straite has co-authored Google and the Digital Privacy Perfect Storm in E-
Commerce Law Reports (UK) (2013), authored Netherlands: Amsterdam Court of Appeal
Approves Groundbreaking Global Settlements Under the Dutch Act on the Collective
Settlement of Mass Claims, in The International Lawyer’s annual “International Legal
Developments in Review” (2009), and was a contributing author for Maher M. Dabbah &
K.P.E. Lasok, QC, Merger Control Worldwide (2005).
         Mr. Straite’s recent litigation includes co-leading a class of investors in In re: CSO
Hedge Fund Litigation New York federal court (settlement approved January 2016);
pursuing digital privacy claims as co-class counsel in In re: Facebook Internet Tracking
Litigation and In re Yahoo Mail Litigation in California (settlement approved August 2016)
and In re: Google Inc. Cookie Placement Consumer Privacy Litigation in Delaware;


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pursuing corporate governance claims in Delaware Chancery Court in a number of
matters; and helping to develop the first multi-claimant test of the UK’s new prospectus
liability statute in a case against the Royal Bank of Scotland in the English courts.
   Education:
          B.A., Tulane University, Murphy Institute of Political Economy (1993)
          J.D., magna cum laude, Villanova University School of Law (1996), Managing
           Editor, Law Review and Order of the Coif
   Bar affiliations and court admissions:
          Bar of the State of New York (2000)
          Bar of the State of Delaware (2009)
          Bar of the State of Pennsylvania (1996)
          Bar of the State of New Jersey (1996)
          Bar of the District of Columbia (2008)
          U.S. District Courts for the Southern and Eastern Districts of New York; Eastern
           District of Pennsylvania; and the District of Delaware
          U.S. Courts of Appeals for the Second, Third and Ninth Circuits
   Professional affiliations:
          American Bar Association
                  -   Section of Litigation (Privacy and Data Security Committee)
                  -   Section of Business Law
          Delaware Bar Association
          New York American Inn of Court (Master of the Bench)
          Internet Society
          Member, International Association of Privacy Professionals
Mr. Straite can be reached by email at: dstraite@kaplanfox.com

OF COUNSEL
       GARY L. SPECKS practices primarily in the area of complex antitrust litigation.
He has represented plaintiffs and class representatives at all levels of litigation, including
appeals to the U.S. Courts of Appeals and the U.S. Supreme Court. In addition, Mr.
Specks has represented clients in complex federal securities litigation, fraud litigation,



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civil RICO litigation, and a variety of commercial litigation matters. Mr. Specks is resident
in the firm’s Chicago office.
       During 1983, Mr. Specks served as special assistant attorney general on antitrust
matters to Hon. Neil F. Hartigan, then Attorney General of the State of Illinois.
   Education:
          B.A., Northwestern University (1972)
          J.D., DePaul University College of Law (1975)
   Bar Affiliations and Court Admissions:
          Bar of the State of Illinois (1975)
          U.S. Courts of Appeals for the Third, Fifth, Seventh, Ninth and Tenth Circuits
          U.S. District Court for the Northern District of Illinois, including Trial Bar
   Professional Affiliations:
          American Bar Association
          Illinois Bar Association
          Chicago Bar Association
Mr. Specks can be reached by email at: GSpecks@kaplanfox.com


       W. MARK MCNAIR has been associated with Kaplan Fox since 2003. He
practices in the area of securities litigation. Mr. McNair is actively involved in maintaining
and establishing the Firm’s relationship with institutional investors and is active in the
Firm’s Portfolio Monitoring and Case Evaluation Program for the Firm’s numerous
institutional investors.
       Mr. McNair is a frequent speaker at various institutional events, including the
National Conference of Public Employee Retirement Systems and the Government
Finance Office Association.
       Prior to entering private practice, Mr. McNair was an Assistant General Counsel at
the Municipal Securities Rulemaking Board where he dealt in a wide range of issues
related to the trading and regulation of municipal securities. Previously, he was an
attorney in the Division of Market Regulation at the Securities and Exchange Commission.
At the Commission his work focused on the regulation of the options markets and
derivative products.



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   Education:
         B.A. with honors, University of Texas at Austin (1972)
         J.D. University of Texas at Austin (1975)
         L.L.M. (Securities) Georgetown University (1989)
   Bar Affiliations and Court Admissions:
         Bar of the State of Texas (1975)
         Bar of the State of Maryland (1995)
         Bar of the State of Pennsylvania (1995)
         Bar of the District of Columbia (2008)
         U.S. Courts of Appeals for the Third, Fifth, Seventh, Ninth and Tenth Circuits
         U.S. District Court for the Northern District of Illinois, including Trial Bar
Mr. McNair can be reached at MMcnair@kaplanfox.com


      MAIA C. KATS practices in the area of consumer litigation, with a special
emphasis on deceptive labeling in the food and dietary supplements context. Prior to
joining Kaplan Fox, Maia was the Litigation Director for the Center for Science in the
Public Interest, where she led the department to unprecedented success. She is widely
regarded as a leading expert in food litigation and is a frequent speaker on the topic
nationwide. Maia is the consumer representative on FDLI’s 2019 Food Advertising,
Labeling, and Litigation Conference Planning Committee. She is based in Washington,
DC.
      Maia has served as lead or co-lead counsel in many landmark, deceptive
marketing class actions that favorably resolved including, most recently, Coca-Cola
(Vitaminwater), PepsiCo (Naked Juice), General Mills (Cheerios Protein), and Campbell’s
(Plum Organics). She is currently class counsel in numerous deceptive “health halo”
cases, including against CVS (Algal-DHA memory supplements), Jamba Juice
(Smoothies), and Coca-Cola and the American Beverage Association (misleading
marketing of sugar drinks as not linked scientifically to obesity and diabetes). Coverage
of her cases routinely appears in the press, including on Good Morning America, ABC
News, The Wall Street Journal, The Washington Post, NPR, and more.




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   Education:
          B.A. University of Michigan (1984)
          J.D. University of Michigan Law School (1988)
   Bar Affiliations and Court Admissions:
          Bar of the State of New York (1989)
          Bar of the State of District of Columbia (1990)
          U.S. Courts of Appeals for the Second Circuit
          U.S. District Court for the Northern District of California and District of Columbia
Ms. Kats can be reached at MKats@kaplanfox.com


       WILLIAM J. PINILIS practices in the areas of commercial, consumer and
securities class action litigation.
       He has been associated with Kaplan Fox since 1999 and is resident in the firm’s
New Jersey office.
       In addition to his work at the firm, Mr. Pinilis has served as an adjunct professor at
Seton Hall School of Law since 1995 and is a lecturer for the New Jersey Institute for
Continuing Legal Education. He has lectured on consumer fraud litigation and regularly
teaches the mandatory continuing legal education course Civil Trial Preparation.
       Mr. Pinilis is the author of “Work-Product Privilege Doctrine Clarified,” New Jersey
Lawyer, Aug. 2, 1999; “Consumer Fraud Act Permits Private Enforcement,” New Jersey
Law Journal, Aug. 23, 1993; “Lawyer-Politicians Should Be Sanctioned for Jeering
Judges,” New Jersey Law Journal, July 1, 1996; “No Complaint, No Memo – No Whistle-
Blower Suit,” New Jersey Law Journal, Sept. 16, 1996; and “The Lampf Decision: An
appropriate Period of Limitations?” New Jersey Trial Lawyer, May 1992.
   Education:
          B.A., Hobart College (1989)
          J.D., Benjamin Cardozo School of Law (1992)
   Bar Affiliations and Court Admissions:
          Bar of the State of New Jersey (1992)
          Bar of the State of New York (1993)




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         U.S. District Courts for the District of New Jersey, and the Southern and
          Eastern Districts of New York
   Professional Affiliations:
         Morris County Bar Association
         New Jersey Bar Association
         Graduate, Brennan Inn of Court
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      JUSTIN B. FARAR joined Kaplan Fox in March 2008. He practices in the area of
securities and antitrust litigation with a special emphasis on institutional investor
involvement. He is located in the Los Angeles office. Prior to joining the firm, Mr. Farar
was a litigation associate at O’Melveny & Myers, LLP and clerked for the Honorable Kim
McLane Wardlaw on the Ninth Circuit Court of Appeals. Mr. Farar also currently serves
as a Commissioner to the Los Angeles Convention and Exhibition Authority.
      Mr. Farar is also an adjunct professor at the University of Southern California
Gould Law School teaching a course on class actions.
   Education:
         J.D., order of the coif, University of Southern California Law School (2000)
         B.A., with honors, University of California, San Diego
   Bar Affiliations and Court Admissions:
         Bar of the State of California (2000)
         U.S. Court of Appeals for the Ninth Circuit (2000)
         U.S. District Court for the Central of California (2000)
   Awards:
         The American Society of Composers, Authors and Publishers’ Nathan Burkan
          Award Winner, 2000 for article titled “Is the Fair Use Defense Outdated?”
Mr. Farar can be reached by email at: JFarar@kaplanfox.com


      MATTHEW GEORGE is a complex litigation attorney at Kaplan Fox & Kilsheimer
LLP with a practice focused on data privacy, consumer protection, and employment/labor
cases. He has significant experience and expertise handling multidistrict litigation and



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other coordinated proceedings in state and federal courts involving multiple parties and
complex discovery issues.
       Matthew has been a strong advocate for consumer and patient privacy. He has
served on court-appointed lead counsel teams in notable cutting-edge data breach and
information privacy cases against Target, Adobe, Yahoo!, and Horizon Healthcare. In
these and other cases he has worked with cybersecurity experts to gain technical
knowledge in data collection, management and protection. He was recently appointed to
the Plaintiffs’ Steering Committee in In re 21st Century Oncology Data Breach Litigation,
MDL No. 2737, pending in the Middle District of Florida.
       Matthew has also recovered unpaid overtime wages for thousands of workers
across the United States under state and federal law in over a dozen cases. His notable
recoveries include generating a $9.9 million settlement on behalf of retail employees and
winning a two-week arbitration representing misclassified account representatives
against a Fortune 500 company. Matthew has also recovered over $10 million for
employees in cases alleging violations of the WARN Act when the employees were not
provided required notice before their terminations.
       He has also represented customers challenging deceptive business practices and
has worked to obtain significant recoveries in consumer fraud cases against companies
including Chase, Mercedes-Benz and The Ritz-Carlton. He currently represents
consumers in cases against HBO, Logitech, and Chipotle, among others. In addition to
representing plaintiffs in class action cases, Matthew has also represented institutional
clients including labor unions and conducted a risk management analysis for a multi-
national health and wellness consumer product corporation.
       Matthew has been selected by his peers as a “Rising Star” by Northern California
Super Lawyers each year from 2011-2014 and was chosen as a “Super Lawyer” in 2016,
the first year he was eligible for the distinction. He has been a regular speaker at industry
conventions and seminars on topics ranging from arbitration, expert discovery, settlement
strategies, and the rapidly changing field of privacy law.
   Education:
          B.A., Political Science and Criminal Justice, magna cum laude, Chapman
           University (2002)



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      J.D., The University of Michigan Law School (2005)
Publications and Speaking Engagements:
      Expert Depositions: Promoting Expertise and Limiting Exposure –Bridgeport
       Continuing Legal Education “Mastering the Deposition” Seminar (January
       2017)
      “How Viable Is the Prospect of Private Enforcement of Privacy Rights In The
       Age of Big Data? An Overview of Trends and developments In Privacy Class
       Actions” – Competition, The Journal of the Antitrust and Unfair Competition Law
       Section of the State Bar of California, Volume 24, No. 1 (Spring 2015)
      Panel Discussion of Sony Pictures Data Breach Cases – CNBC’s “Squawk On
       the Street” (December 2014)
      New and Developing Practice Areas – CAOC 53rd Annual Convention
       (November 2014)
      Privacy Law Symposium – University of California, Hastings College of the La
       (April 2014)
      Update On the Target Data Breach Litigation – HarrisMartin Target Data
       Breach MDL Conference (March 2014)
      Consumer Privacy Law – 8th Annual CAOC Class Action Seminar (February
       2014)
      Privacy Litigation and Management: Strategies For Protection and Litigation –
       Bridgeport Continuing Legal Education Seminar (December 2012)
      Class Action Settlement Strategies and Mechanics – 12th Annual Bridgeport
       Class Action Litigation & Management Conference (April 2012)
      Developments In the Arbitration of Wage and Hour Disputes – Bridgeport 2010
       Wage and Hour Conference (October 2010)
Bar Affiliations and Court Admissions:
      Bar of the State of California
      U.S. District Courts for the Northern, Central, Southern and Eastern Districts of
       California, and the District of Colorado
      Ninth Circuit Court of Appeals
Professional Affiliations:



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          Bay Area Lawyers for Individual Freedom
          Consumer Attorneys of California (Diversity Committee)
          American Bar Association (Labor and Employment Section)
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ASSOCIATES
       MARIO M. CHOI is a resident in the Oakland office and practices in the areas of
securities, antitrust, and consumer protection litigation.   Mr. Choi’s recent litigations
include Schueneman v. Arena Pharmaceuticals, Inc., et al. (S.D. Cal.), In re Rocket Fuel,
Inc. Securities Litigation (N.D. Cal.), In re Keurig Green Mountain Single-Serve Coffee
Antitrust Litigation (S.D.N.Y.), In re Packaged Seafood Products Antitrust Litigation (S.D.
Cal.), Schneider v. Chipotle Mexican Grill, Inc. (N.D. Cal.), and In re Apple Inc. Device
Performance Litigation (N.D. Cal.).
       Prior to joining the firm, Mr. Choi worked at the New York office of Pryor Cashman
LLP where he handled a number of complex commercial cases ranging from intellectual
property and contract disputes to real estate and environmental issues.
       During law school, Mr. Choi interned for the Honorable Bruce M. Selya, U.S. Circuit
Judge for the U.S. Court of Appeals for the First Circuit, interned for the U.S. Securities
and Exchange Commission in Boston and clerked for the Asian Law Caucus in San
Francisco. After law school, Mr. Choi clerked for the Honorable Richard B. Lowe, III, a
justice of the New York Supreme Court.
       Mr. Choi is actively involved in the community, including serving as a Judge Pro
Tem for the San Francisco Superior Court and on the boards of various non-profit
organizations in the Bay Area. For his work, Mr. Choi was elected as a Fellow of the
American Bar Foundation.
   Education:
          B.A., Boston University
          M.A., Columbia University
          J.D., Northeastern University
   Bar Affiliations and Court Admissions:
          Bar of the State of New York


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           Bar of the State of California
           U.S. Courts of Appeals for the Eighth and Ninth Circuits
           U.S. District Courts for the Northern, Southern and Central Districts of
            California and the Southern District of New York
   Professional Affiliations:
           American Bar Association
           Asian American Bar Association – Bay Area
           Bar Association of San Francisco
           Federal Bar Association
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       PAMELA MAYER is focused on the investigation, analysis and initiation of
securities claims on behalf of the firm’s institutional and individual clients utilizing her
combined legal and finance background.
       Prior to joining Kaplan Fox, Ms. Mayer was a securities investigation and litigation
attorney for a multinational investment bank. Utilizing her combined legal and business
background, including her M.B.A., Ms. Mayer focuses on the research and analysis of
securities claims on behalf of our firm’s individual and institutional clients and is dedicated
full-time to the firm’s Portfolio Monitoring and Case Evaluation Program. Ms. Mayer also
has substantial litigation experience in the area of intellectual property.
   Education:
           B.S., The University of Rochester
           J.D., The George Washington University
           M.B.A., Finance, The University of Michigan
   Bar Affiliations and Court Admissions:
           Bar of the State of New York
           U.S. District Courts for the Southern and Eastern Districts of New York
   Professional Affiliations:
           New York State Bar Association
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       AARON L. SCHWARTZ has been associated with Kaplan Fox since July 2017.
He practices securities, antitrust and consumer protection litigation.
       Prior to joining the firm, Mr. Schwartz was a Deputy Attorney General in the
Pennsylvania Office of Attorney General, Antitrust Section. As a Deputy Attorney
General, Mr. Schwartz conducted investigations, brought suit to enjoin anticompetitive
corporate mergers, and prosecuted pharmaceutical product-hopping schemes, market
allocation schemes, and unfair trade practices.
   Education:
          B.A., University of Wisconsin—Madison (2009)
          J.D., The Pennsylvania State University—The Dickinson School of Law (2014)
   Bar Affiliations and Court Admissions:
          Bar of the Commonwealth of Pennsylvania
          Bar of the State of New York
          U.S. Court of Appeals for the Third Circuit
          U.S. District Courts for the Eastern, Middle, and Western Districts of
           Pennsylvania
   Professional Affiliations:
          Pennsylvania Bar Association
          American Bar Association
Mr. Schwartz can be reached by email at: aschwartz@kaplanfox.com



       JASON A. URIS has been associated with Kaplan Fox since May 2013. He
practices in the areas of securities, antitrust, and consumer litigation.
       Mr. Uris is currently involved in several litigations, including Milbeck v. TrueCar,
Inc., et al., Lewis v. YRC Worldwide Inc., et al., and In re: Keurig Green Mountain Single-
Serve Coffee Antitrust Litigation.
       Mr. Uris was also a member of the teams that litigated the following cases: Kasper
v. AAC Holdings, Inc., et al. (M.D. Tenn.) ($25 million settlement); In re SandRidge
Energy, Inc. Shareholder Derivative Litigation, No. CIV-13-102-W (W.D. Okla.) (partial
settlement of $38 million); In re Cast Iron Soil Pipe Antitrust Litigation, MDL No. 2508




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(E.D. Tenn.) ($30 million settlement); In re: CSO Hedge Fund Litigation ($13.5 million
settlement).
   Education:
         B.A., cum laude, Boston University (2011)
         J.D., Fordham University School of Law (2014)
   Bar Affiliations and Court Admissions:
         Bar of the State of New York (2015)
         U.S. District Courts for the Southern and Eastern Districts of New York
   Professional Affiliations:
         New York State Bar Association
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